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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               TERRE HAUTE DIVISION


 UNITED STATES OF AMERICA,                 )
           Plaintiff,                      )
                                           )                  JRS
                                                2:18-cr-00035-JMS-CMM
 vs.                                       )
                                           )
 EDDIE STILES, III,                        )
            Defendant                      )


                           REPORT AND RECOMMENDATION

       On May 5, 2021, the Court conducted a final hearing on the Petition for Warrant

 for Offender Under Supervision filed on April 14, 2021 [Doc. 52]. Eddie Stiles, III

 (“Defendant”) appeared in person with FCD counsel, Bill Dazey. The Government

 appeared by Tiffany Preston, Assistant United States Attorney. U. S. Probation

 appeared by Officer Jennifer Considine.

       This matter was referred to the Magistrate Judge to conduct a hearing and make

 a report and recommendation as to disposition. [Doc. 52] The Defendant was advised

 that the District Judge is not bound to accept the Report and Recommendation.

       The Court conducted the following procedures in accordance with Fed. R. Crim.

 P. 32.1(a)(1) and 18 U.S.C. §3583:

       1.     The Court previously had conducted an initial hearing by video conference

 on April 22, 2021, at which Defendant was advised of his rights and provided a copy of

 the petition. [Doc. 56]

       2.     Defendant orally waived his right to a preliminary hearing.

       3.     After being placed under oath, Defendant admitted Violation No. 1.

 [Docket No. 47.]
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        4.        The allegations to which Defendant admitted, as fully set forth in the

 petition, are:


        Violation
        Number           Nature of Noncompliance

             1.     "You shall not use or possess any controlled substances prohibited by
                    applicable state or federal law, unless authorized to do so by a valid
                    prescription from a licensed medical practitioner. You shall follow the
                    prescription instructions regarding frequency and dosage."

                   On April 9, 2021, Mr. Stiles submitted a drug test that returned positive
                   for amphetamines and cannabinoids. On April 13, 2021, this officer
                   confronted Mr. Stiles regarding this drug use, and he admitted to the use
                   of marijuana on April 6, 2021, and the use of methamphetamine on
                   April 7, 2021.


        5.        The parties stipulated that:

                  (a)    The highest grade of violation is a Grade B violation.

                  (b)    Defendant’s criminal history category is IV.

                  (c)    The range of imprisonment applicable upon revocation of
                         supervised release, therefore, is 12 to 18 months imprisonment.

        6.        Based upon these findings and conclusions, the Magistrate Judge

 recommends that the defendant be sentenced to a term of fifteen (15) months in the

 custody of the U.S. Bureau of Prisons. The Magistrate Judge further recommends that

 the defendant resume supervised release at the termination of his incarceration for a

 period of not less than six months.

        7.        In reaching these conclusions, the Magistrate Judge has considered the

 factors set forth in 18 U.S.C. 3553(a)(1) [nature and circumstances of the offense and the

 history and characteristics of the defendant, here, the nearly immediate violation of the

 terms of supervised release after a similar petition in March 2021 as well as the use of

 methamphetamine and marijuana while on supervised release], (a)(2)(B) [affording
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 adequate deterrence to criminal conduct, here, consideration of the defendant’s multiple

 violations and disregard of reasonable rules of supervised release, including the short

 proximity between substantial violations], (a)(2)(c) [to protect the public from further

 crimes of the defendant], (a)(2)(D) [not applicable here], (a)(4), (a)(5) [not applicable

 here], (a)(6) [the need to avoid unwarranted sentence disparities among defendants

 with similar records—the recommended sentence is at the middle of the range], and

 (a)(7) [not applicable here].

        8.     The Court considers it critical that the Defendant face consequences of his

 poor decisions—not least wasting a favorable agreement with the Government during a

 hearing on March 29 that would have granted him time in a halfway house and

 resuming drug counseling without further incarceration—but also providing a “landing

 place” when he is released. This seems impossible without support from a supervised

 release environment. The Defendant’s record is plainly troubling, but it seems clear that

 his best hope of restoring his life, rejoining his family, and making a future can only

 occur with support from the Probation Office.



                                    Recommendation

        The undersigned recommends to the Court adoption of these Findings of Fact

 and Conclusions of Law and the revocation of the defendant’s supervised release and the

 imposition of term of incarceration of fifteen (15) months with supervised release to

 resume at the termination of his incarceration for a period of at least six months. The

 Defendant requested, and the Court concurs, that to the extent possible the Bureau of

 Prisons place the Defendant at its Milan, Michigan facility. The Defendant previously

 was housed at that location and reassignment to a familiar location where he is already

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 acquainted with counseling staff should provide a smooth transition and perhaps and

 accelerated process to deal with substance abuse and addiction issues.

       The parties waived the 14-day period within which to object to this report and

 recommendation.

       The defendant is ORDERED detained pending the District Court’s consideration

 of this recommendation.

       Dated:        May 5, 2021




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